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 8                           UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10    RAYMOND ALFRED, ASHLEY                   Case No. LA CV14-07086 JAK (RZx)
      ALVES and MARVIN BARRISH,
11    individually and on behalf of all others THIRD AMENDED COMPLAINT
      similarly situated,
12                                             CLASS ACTION COMPLAINT
                    Plaintiffs,                FOR:
13
            v.
14
                                                   (1) FAILURE TO PAY
      PEPPERIDGE FARM, INC., a                     CALIFORNIA OVERTIME
15    Connecticut Corporation, and DOES 1 –        COMPENSATION;
      100, inclusive,
16                                                 (2) REIMBURSEMENT FOR
                   Defendants.                     BUSINESS EXPENSES;
17                                                 (3) FAILURE TO PROVIDE
18                                                 MEAL AND REST PERIODS;
                                                   (4) FAILURE TO FURNISH
19                                                 ACCURATE WAGE
20                                                 STATEMENTS;
                                                   (5) WAITING TIME PENALTIES;
21                                                 (6) VIOLATIONS OF THE
22                                                 UNFAIR COMPETITION LAW
                                                   (UCL); and
23

24                                                 REPRESENTATIVE ACTION
                                                   COMPLAINT FOR:
25

26                                                 (7) CIVIL PENALTIES UNDER
                                                   LABOR CODE PRIVATE
27                                                 ATTORNEY GENERAL ACT
28
                                                   DEMAND FOR JURY TRIAL

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 1          1.     On information and belief, Plaintiffs Ashley Alves, Marvin Barrish and
 2    Raymond Alfred (“Plaintiffs”), on behalf of themselves and all others similarly
 3    situated, bring this action as a class action under the provisions of California Code of
 4    Civil Procedure § 382 and a representative action under California Labor Code §
 5    2699. Plaintiffs’ claims arise from Plaintiffs’ employment with Defendant
 6    Pepperidge Farm, Inc. (“Defendant” or “Pepperidge Farm”), and Defendant’s
 7    wrongful acts and/or omissions in violation of Plaintiffs’ statutory and other rights.
 8                                    I.     JURISDICTION
 9          2.     This Court has jurisdiction over this matter pursuant to California
10    Business & Professions Code §§ 17200-17208, California Labor Code §§ 200 et
11    seq., 203, 226, 226.3, 226.7, 226.8, 510, 512, 2802, 2699 et seq., the Code of Civil
12    Procedure, the California Rules of Court, and other provisions.
13          3.     The amount in controversy herein, excluding interest, costs, penalties,
14    and attorneys’ fees, exceeds the minimum jurisdictional limit of this court.
15                                          II.   VENUE
16          4.     Venue in Los Angeles County is proper under Business & Professions
17    Code § 17203 and California Code of Civil Procedure § 395.5 because Defendant
18    Pepperidge Farm, Inc., is doing business in Los Angeles County and Defendant’s
19    violations occurred in part in Los Angeles County. In addition, Defendant conducted
20    and continues to conduct substantial business in this County, a substantial part of the
21    transactions at issue took place in this County, and Defendant’s liability arose, in
22    part, in this County.
23                                   III.   INTRODUCTION
24          5.     Plaintiffs bring their claims under California law for unpaid minimum
25    wage and overtime compensation, reimbursement of necessary, employment-related
26    expenses and losses, meal and rest period pay, failure to furnish accurate wage
27    statements, waiting time penalties, restitution, disgorgement, statutory penalties,
28    interest, and attorneys’ fees and costs.


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 1             6.    The above stated claims are brought pursuant to the California Code of
 2    Civil Procedure § 382 on behalf of a Class of Pepperidge Farm Distributors (referred
 3    to collectively as “Class Members” and “Distributors” and defined further in
 4    paragraph 40 below) employed at Defendant’s business during the period
 5    commencing four years prior to the filing of this action (the “Class Period”).
 6                                        IV.   PARTIES
 7    A. Plaintiffs
 8             7.    Plaintiff Raymond Alfred was a Pepperidge Farm Distributor for
 9    Defendant Pepperidge Farm from September of 1997 until December 23, 2013.
10    From approximately 1997 until 2005 Mr. Alfred worked throughout Palmdale,
11    Lancaster, Tehachapi, Edwards/Edwards Air Force Base, and Rosamond. In 2005
12    Mr. Alfred sold part of his territory. Mr. Alfred continued to work as a Distributor in
13    primarily Palmdale and Lancaster, where he worked until December 2013.
14             8.    Plaintiff Ashley Alves is a current Distributor for Pepperidge Farm. She
15    has operated a distributorship that covers Orange County since August 2013.
16             9.    Marvin Barrish was a Pepperidge Farm Distributor for Defendant
17    Pepperidge Farm from July of 1988 to April 4, 2014. From approximately 1988 to
18    2005, Mr. Barrish worked in Ventura County. In approximately February of 2005,
19    Mr. Barrish sold part of his territory. Mr. Barrish continued to work as a Distributor
20    in Camarillo and Oxnard, where he worked until April 2014.
21    B. Defendants
22             10.   Defendant Pepperidge Farm, Inc. is a Connecticut corporation that also
23    maintains an entity address in New Jersey. Pepperidge Farm maintains a network of
24    Distributors in California to distribute its biscuit and snack products throughout the
25    state.
26             11.   Defendant Does 1-100 inclusive are sued herein under fictitious names.
27    Their true names and capacities, whether corporate, individual, or otherwise, are
28



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 1    unknown to Plaintiffs. Plaintiffs will seek leave of this Court to amend this
 2    Complaint when their true names and capacities are ascertained.
 3

 4                              V.     STATEMENT OF FACTS
 5          12.     Defendant manufactures, markets, sells, and distributes biscuit and
 6    snack products throughout the United States, including in California.
 7          13.     Defendant sells its products to various retail stores such as grocery
 8    stores, mass merchandisers, and convenience stores and relies on its Distributors to
 9    deliver its products to market. Distributors deliver, stock, merchandise, promote,
10    and remove Pepperidge Farm products for stores in defined territories.
11          14.     Plaintiffs and Class Members performed delivery, stocking,
12    merchandising, promotional, and removal services on behalf of Defendant in
13    California.
14          15.     Upon information and belief, Defendant has employed hundreds of
15    Distributors in California during the Class Period.
16          16.     In order to perform work for Defendant, Plaintiffs and similarly situated
17    Distributors signed a Pepperidge Farm “Consignment Agreement,” which detailed
18    the terms of Distributors’ work for Defendant and labels Distributors as
19    “independent businessmen.” A copy of Plaintiff Marvin Barrish’s Consignment
20    Agreement is attached to this complaint as Exhibit A and is, upon information and
21    belief, substantially similar in substance to the Consignment Agreements signed by
22    Plaintiff Alfred and the putative Class Members that Plaintiffs seek to represent.
23    While Distributors pay for the opportunity to enter into these agreements and to
24    secure an assigned distribution territory, Defendant’s unfettered right to control and
25    extensive actual control over Plaintiffs and Class Members is such that the
26    Distributors are actually employees under California law.
27          17.     Defendant retained the right to terminate Distributors’ contracts at any
28    time without cause. The Consignment Agreement states, “[Defendant] shall have the


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 1    right in its discretion to terminate this Agreement at any time without cause upon
 2    written notice to the Consignee.” Exhibit A at ¶ 24.
 3          18.      Defendant also retained the right to terminate Distributors’ contracts at
 4    its discretion for cause. Exhibit A at ¶ 20. Defendant’s “for cause” grounds for
 5    termination, as stated in Distributors’ consignment agreements, reserved the right for
 6    Defendant to exercise extensive control over the details of Distributors’ work.
 7    Defendant retained the right to terminate Distributors’ contracts for “failure of
 8    [Distributor] to use his/her best efforts to realize the full sales potential of the
 9    Territory for Consigned Products and the continuance of such failure for seven days
10    after written notice thereof from [Defendant].” Exhibit A at ¶ 20. In order to use
11    their best efforts to fully realize the sales potential of their routes, Distributors were
12    required by the terms of the Consignment Agreement to:
13                a. “actively solicit all retail stores in the Territory whose accounts can be
14          profitably handled;”
15                b. “maintain at all times an adequate and fresh supply of Consigned
16          Products in all such retail stores;”
17                c. “provide distribution service to all such retail stores on such days of the
18          week (including weekends), at such intervals and with such frequency as is
19          necessary to realize the full sales potential thereof and to maintain an adequate
20          fresh supply of Consigned Products therein;”
21                d. “make available to all such retail stores all varieties of authorized
22          Consigned Products unless it is demonstrably unprofitable to do so;”
23                e. “cooperate with [Defendant] in the effective utilization of [Defendant’s]
24          advertising, sales promotion, and space merchandising programs and;”
25                f. “keep fully informed of [Defendant’s] recommended policies and
26          method for increasing sales and improving distribution service.” Exhibit A at
27          ¶ 4.
28



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 1          19.      Distributors’ contracts could also be terminated for cause for the
 2    following reasons, which gave Defendant great latitude in determining how
 3    Distributors carried out their duties:
 4                a. the “failure of [Distributor] to maintain efficient distribution service
 5          throughout the Territory in keeping the established reputation of [Defendant]
 6          and the high quality of its products and the continuance of such failure for
 7          seven days after written notice thereof from [Defendant];”
 8                b. the “failure of [Distributor] to maintain the general appearance and
 9          condition of his/her truck or other equipment or his/her own general
10          appearance or deportment or that of his/her helper or helpers, if any, in
11          accordance with standards in keeping with the established reputation of
12          [Defendant] and the high quality of its products and the continuance of such
13          failure for more than five days after written notice thereof from [Defendant];”
14                c. the “failure of [Distributor] to remain actively and personally involved
15          in the operation and management of the Distributorship….”;
16                d. “any actions, activities or practices of [Distributor] which either do, or
17          in the reasonable opinion of [Defendant] are likely to, materially damage the
18          reputation of [Defendant] and/or [Defendant’s] relations or reputation with
19          consumers, retail stores, or any other purchaser of Consigned Products.”
20          Exhibit A at ¶ 20.
21          20.      Defendant employed sales managers who supervised Distributors’ work.
22    Through its sales managers and other agents, Defendant conducted regular
23    evaluations of Distributors’ sales and store performance, which included whether
24    Distributors’ stores were—in Defendant’s view—underperforming. If a
25    Distributor’s performance was deemed inadequate, Defendant retained the right to
26    send the Distributor a letter requiring that he or she remedy performance within five
27    days, or Defendant could make other arrangements to service the store and could
28    even terminate the Distributor’s contract. See Exhibit A at ¶ 7.


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 1          21.    Defendant retained the right to “from time to time, establish reasonable
 2    sales and/or distribution goals for Consignee and this Distributorship” and required
 3    that Distributors “meet or exceed any such goals established by [Defendant].”
 4    Exhibit A at ¶ 4. Defendant’s sales managers often set such goals for Distributors
 5    throughout the year. Under the terms of Defendant’s Consignment Agreement,
 6    failure to meet or exceed Defendant’s sales or distribution goals was “for cause”
 7    grounds for termination of a Distributor’s contract. See Exhibit A at ¶ 20.
 8          22.    Defendant retained the right to exercise control over the manner and
 9    means of accomplishing the delivery of its products to market through its
10    Distributors. Defendant provided Distributors with schematics, or “plan-o-grams,”
11    which depicted precisely how Distributors should display the products that they
12    delivered to stores. Defendant, not Distributors, determined the wholesale price of
13    Defendant’s product for Defendant’s clients. Defendant directed the number of
14    times that Distributors should visit their stores each week and monitored
15    Distributors’ activity through its sales managers and Defendant’s billing and
16    ticketing systems. Defendant retained the right to require that Distributors attend
17    quarterly sales meetings where sales managers informed Distributors of upcoming
18    promotions and praised Distributors with the highest sales numbers. Defendant also
19    required that its Distributors purchase a specialized hand-held computer that
20    transmitted detailed information about Distributors’ deliveries, including when these
21    deliveries occurred and to which stores.
22          23.    Despite being labeled “independent businessmen,” Distributors were not
23    permitted to sell their Distributorships without prior, written approval from
24    Defendant. See Exhibit A at ¶ 19. Defendant required that any buyer of Plaintiffs’
25    Distributorships meet Defendant’s requirements as to “character, ability, financial
26    responsibility, business acumen, and adequate facilities.” Id. Defendant retained the
27    right to interview prospective buyers and require that Plaintiffs’ prospective buyers
28    submit a business plan to Defendant, which Defendant would have to approve in


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 1    order for a sale to take place. Defendant retained the right of first refusal for any sale
 2    of all or any portion of the Distributorship.
 3          24.    Several other factors relating to Distributors’ work evince that an
 4    employment relationship existed between Defendant and Plaintiffs. Defendant’s
 5    Distributors provided services that are part of the regular business of Defendant.
 6    Defendant states on its website, for example, that its Distributors are “the secret to
 7    Pepperidge Farm’s success.” Moreover, Defendant unilaterally negotiated the space
 8    for its products at the stores Distributors serviced and determined promotional
 9    activity at these stores. If stores did not wish to receive deliveries from Defendant’s
10    Distributors, Defendant retained the right to make other arrangements with the store
11    for the delivery of its products. See Exhibit A at ¶ 9. Distributors routinely worked a
12    substantial number of overtime hours a week on contracts that lasted indefinitely.
13    Defendant’s requirements of its Distributors made it difficult for Distributors to
14    regularly service other accounts.
15          25.    Defendant has paid Plaintiffs and Class Members under a common
16    compensation plan and policy where Distributors were paid a sales commission
17    based on the items sold.
18          26.    Despite Defendant’s extensive right of control over Distributors’ work,
19    Defendant has routinely classified Distributors as “independent contractors.”
20          27.    Upon information and belief, Defendant misclassified Plaintiffs and
21    similarly situated Distributors knowingly and willfully.
22          28.    Defendant has caused Plaintiffs and similarly situated Class Members to
23    work hours in excess of 40 hours a week.
24          29.    As a result of Defendant’s misclassification of Distributors as
25    “independent contractors,” Defendant has failed to pay overtime compensation to
26    Plaintiffs and similarly situated Class Members for hours worked in excess of eight
27    hours per day and/or 40 hours per week.
28



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  1          30.      As a result of Defendant’s misclassification of Distributors as
  2    “independent contractors,” Defendant has failed to indemnify Plaintiffs and similarly
  3    situated Class Members for employment-related expenses, including the cost of
  4    providing appropriate vehicles and vehicle expenses such as fuel, maintenance,
  5    repair; the cost and maintenance of a hand-held computer and printer; the cost of
  6    warehousing Defendant’s products; pallet fees that Defendant charged Plaintiffs and
  7    similarly situated Class Members; expenses incurred as the result of stale products
  8    and inventory irregularities; and the cost of required business liability insurance.
  9          31.      As a result of Defendant’s misclassification of Distributors as
 10    “independent contractors,” Defendant has unlawfully collected and withheld earned
 11    wages through deducting pallet fees, the cost and maintenance of a hand-held
 12    computer and printer, and charges incurred as the result of stale products and
 13    inventory irregularities.
 14          32.      As a result of Defendant’s misclassification of Distributors as
 15    “independent contractors,” Defendant has failed to record the actual hours worked by
 16    Plaintiffs and similarly situated Class Members.
 17          33.      As a result of Defendant’s misclassification of Distributors as
 18    “independent contractors,” Defendant has failed to provide a 30-minute off-duty
 19    meal period to Plaintiffs and similarly situated Class Members.
 20          34.      As a result of Defendant’s misclassification of Distributors as
 21    “independent contractors,” Defendant has failed to provide a second 30-minute meal
 22    period to Plaintiffs and similarly situated Class Members who worked more than 10
 23    hours a day.
 24          35.      Defendant has failed to provide a ten minute rest period per four hours
 25    of work or major fraction thereof.
 26          36.      As a result of Defendant’s misclassification of Distributors as
 27    “independent contractors,” Defendant has failed to itemize the total hours worked on
 28    wage statements furnished to Plaintiffs and similarly situated Class Members.


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  1          37.    Upon information and belief, as a result of Defendant’s
  2    misclassification of Distributors as “independent contractors,” Defendant has failed
  3    to properly maintain payroll records showing the actual hours worked by Plaintiffs
  4    and similarly situated Class Members.
  5          38.    As a result of Defendant’s misclassification of Distributors as
  6    “independent contractors,” Defendant has willfully and knowingly failed to pay
  7    Plaintiffs and similarly situated Class Members upon termination of employment, all
  8    accrued compensation, including repayment of all unlawful charges, compensation
  9    for missed meal and rest periods, and payment of overtime compensation.
 10          39.    As a result of Defendant’s misclassification of Distributors as
 11    “independent contractors,” Defendant has unlawfully charged fees and fines to
 12    Plaintiffs and similarly situated Class Members for goods and services such as
 13    pallets, product inventory irregularities, and returned product from stores; and
 14    equipment such as Defendant’s hand-held computer and maintenance for this
 15    computer.
 16                         VI.    CLASS ACTION ALLEGATIONS
 17          40.    Plaintiffs bring this action on their own behalf and as a class action on
 18    behalf of all signatories to a Consignment Agreement with Pepperidge Farm in the
 19    State of California between August 7, 2010 and the present who personally
 20    delivered, stocked, and merchandised consigned Pepperidge Farm product in retail
 21    stores in California between August 7, 2010 and the present (the “Class”). Pursuant
 22    to the Court’s Order dated April 11, 2017, the certified Class is divided into two
 23    subclasses, one of former distributors, and the other of current distributors.
 24          41.    This action is brought as a class action under the California Code of
 25    Civil Procedure § 382. Class treatment is appropriate because there is a well-defined
 26    community of interest in the litigation and the Class is easily ascertainable. This
 27    action satisfies the predominance, typicality, numerosity, superiority, and adequacy
 28    of representation requirements under § 382.


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  1            a. Numerosity: The size of the proposed plaintiff Class makes individual
  2         joinder of all members impractical. While Plaintiffs do not presently know the
  3         exact number of Class Members, Plaintiffs are informed and believe, and
  4         thereon allege, that as many as 500-700 current and former Distributors have
  5         been subjected to the unlawful practices alleged herein within four years
  6         preceding the filing of this action.
  7            b. Commonality: Common questions of law and fact exist as to all
  8         members of the Plaintiff Class and predominate over any questions that affect
  9         only individual members of the Class. These common questions of law and
 10         fact include, without limitation:
 11               i.   Whether Defendant retained sufficient right to control Class
 12                    Members’ work so as to render the Class Members employees under
 13                    California law;
 14              ii.   Whether Class Members have served Defendant as employees rather
 15                    than independent contractors under California law;
 16             iii.   Whether Defendant has employed Class Members in a position that
 17                    is subject to, and not exempt from, California’s overtime pay and
 18                    other wage and hour requirements;
 19             iv.    Whether Defendant knew or should have known that Class Members
 20                    regularly worked over 40 hours per week and/or eight hours per day;
 21              v.    Whether Defendant failed to pay Class Members overtime wages for
 22                    time worked in excess of 40 hours per week or eight hours per day;
 23             vi.    Whether Defendant has failed to provide Class Members with
 24                    adequate off-duty meal periods and compensation for missed meal
 25                    periods in violation of California Labor Code §§ 226.7 and 512 and
 26                    IWC Wage Order No. 9;
 27            vii.    Whether Defendant has failed to provide Class Members with
 28                    adequate rest periods and compensation for missed rest periods in


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  1                    violation of California Labor Code §§ 226.7 and IWC Wage Order
  2                    No. 9;
  3            viii.   Whether Defendant had a policy or practice of not paying meal and
  4                    rest period premiums when meal and rest periods were not provided;
  5             ix.    Whether Class Members have incurred employment-related expenses
  6                    and losses in carrying out their duties for Defendant;
  7              x.    Whether Defendant has failed to indemnify Class Members for their
  8                    necessary employment-related expenses and losses in violation of
  9                    California Labor Code § 2802 and IWC Wage Order 9;
 10             xi.    Whether Defendant’s collection and deduction of fees, including
 11                    pallet fees, fees for stale products and inventory irregularities, and
 12                    fees related to the handheld computer, violated California Labor
 13                    Code § 221 and IWC Wage Order 9;
 14            xii.    Whether Defendant has unlawfully charged Class Members fees
 15                    arising from their employment with Defendant in violation of
 16                    California Labor Code § 226.8(a)(2);
 17            xiii.   Whether Defendant has knowingly and intentionally failed to
 18                    provide Class Members with accurate and itemized wage statements
 19                    pursuant to California Labor Code § 226 and IWC Wage Order No.
 20                    9;
 21            xiv.    Whether Defendant has violated California Labor Code § 1174 and
 22                    IWC Wage Order No. 9 by failing to maintain documentation of the
 23                    actual hours that Class Members worked each day;
 24             xv.    Whether Defendant has violated California Labor Code §§ 201-203
 25                    by failing, upon termination, to timely pay Class Members wages
 26                    that were due for overtime and missed meal periods;
 27            xvi.    Whether Defendant’s misclassification of Class Members was
 28                    willful and in violation of California Labor Code § 226.8;


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  1           xvii.   Whether Defendant’s failures (a) to pay Class Members for all hours
  2                   worked, (b) to pay Class Members overtime compensation, (c) to
  3                   indemnify Class Members for their necessary employment-related
  4                   expenses, (d) to provide Class Members with adequate off-duty meal
  5                   periods and meal period compensation, (e) to provide Class
  6                   Members with rest periods and rest period compensation, (f) to
  7                   provide Class Members with accurate itemized wage statements, (g)
  8                   to maintain documentation of the actual hours worked each day, (h)
  9                   to timely pay Class Members all wages that were due upon
 10                   termination, along with Defendant’s collection and deduction of fees
 11                   and expenses from Class members’ compensation and its willful
 12                   misclassification of Class Members as independent contractors, and
 13                   its charging fees and/or making deductions from Plaintiffs and Class
 14                   Members’ compensation constitute unlawful, unfair, and/or
 15                   fraudulent business practices under Cal. Business & Professions
 16                   Code §17200, et seq.
 17            c. Typicality: Plaintiffs’ claims are typical of the claims of the Class.
 18         Plaintiffs Alfred and Barrish’s claims are typical of the former distributor
 19         subclass, and Plaintiff Alves’ claims are typical of the current distributor
 20         subclass. Plaintiffs and members of the Class sustained damages arising out
 21         of Defendant’s aforementioned common practice of misclassifying Class
 22         Members as independent contractors. Plaintiffs, like Class Members, were
 23         Distributors who were classified as independent contractors under Defendant’s
 24         Consignment Agreement.
 25            d. Adequacy of Representation: Plaintiffs are members of the Class, do
 26         not have any conflicts of interest with other Class Members, and will represent
 27         and protect the interests of the Class Members. Plaintiffs Alfred and Barrish,
 28         and their counsel, will adequately represent the former distributor subclass,


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  1          and Plaintiff Alves, and her counsel, will adequately represent the current
  2          distributor subclass. Plaintiffs’ counsel are competent and experienced in
  3          litigating employment class actions.
  4                e. Superiority: A class action is superior to other available means of
  5          adjudicating this controversy. Class treatment will permit a large number of
  6          similarly situated persons to prosecute their common claims in a single forum
  7          simultaneously, efficiently, and without unnecessary duplication of effort and
  8          expense that numerous individual claims would entail. Class treatment will
  9          also avoid the risk of inconsistent or contradictory judgments.
 10                                       VII. DAMAGES
 11          42.      As a direct, foreseeable, and proximate result of Defendant’s conduct,
 12    Plaintiffs and similarly situated Class Members are owed overtime compensation,
 13    un-reimbursed necessary employment-related expenses, restitution of fees deducted
 14    from compensation, meal and rest period compensation, liquidated damages, interest,
 15    waiting time penalties, and available statutory penalties and damages, the precise
 16    amounts of which will be proven at trial.
 17                     VIII. FIRST CAUSE OF ACTION
 18        FAILURE TO PAY CALIFORNIA OVERTIME COMPENSATION
         (CALIFORNIA LABOR CODE §§ 510, 1194, IWC WAGE ORDER NO. 9)
 19            (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
 20          43.      The allegations of each of the preceding paragraphs are re-alleged and
 21    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 22    behalf of themselves and all Class Members.
 23          44.      During the Class Period, Plaintiffs and the Class Members worked on
 24    many occasions in excess of eight hours in a workday and/or 40 hours in a work
 25    week in violation of California Labor Code §§ 510, 1194 and IWC Wage Order No.
 26    9, § 3, which require overtime compensation for non-exempt employees. The
 27    precise number of overtime hours will be proven at trial.
 28



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  1          45.    Defendant’s actions were willful, in bad faith, and in knowing violation
  2    of the California Labor Code.
  3          46.    As a direct and proximate result of Defendant’s unlawful conduct as set
  4    forth herein, Plaintiffs and Class Members have sustained damages, including loss of
  5    earnings for hours of overtime work, in an amount to be determined at trial.
  6    Pursuant to California Labor Code § 1194(a), Plaintiffs and Class Members are
  7    entitled to recover their unpaid overtime and double time compensation, including
  8    interest thereon. Plaintiffs and Class Members are also entitled to recover reasonable
  9    attorneys’ fees and costs.
 10

 11                    IX. SECOND CAUSE OF ACTION
 12               REIMBURSEMENT FOR BUSINESS EXPENSES
          (CALIFORNIA LABOR CODE § 2802 AND IWC WAGE ORDER NO. 9)
 13            (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
 14          47.    The allegations of each of the preceding paragraphs are re-alleged and
 15    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 16    behalf of themselves and all Class Members.
 17          48.    While discharging their duties for Defendant, Plaintiffs and Class
 18    Members have incurred and paid work-related expenses. Such expenses include, but
 19    are not limited to, the leasing or purchase of vehicles; fuel, maintenance, and other
 20    vehicle operating costs; various forms of insurance; warehousing expenses for
 21    storing Defendant’s products; pallet fees for Defendant’s shipment of pallets to
 22    stores in Distributors’ territories; a hand-held computer and other equipment
 23    necessary to conduct their work as Distributors; and expenses incurred as the result
 24    of stale products and inventory irregularities.
 25          49.    Defendant failed to indemnify or reimburse Plaintiffs and Class
 26    Members for these expenses and losses. In failing to indemnify or reimburse
 27    Plaintiffs and Class Members for necessary expenditures or losses that were incurred
 28



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  1    as a direct consequence of their discharge of duties for Defendant and/or obedience
  2    of Defendant’s direction, Defendant violated California Labor Code § 2802.
  3          50.    Defendants also failed to reimburse Plaintiffs and Class Members for
  4    tools and equipment necessary for the performance of their jobs, including hand-held
  5    computers and maintenance fees, as required by IWC Wage Order No. 9, § 9.
  6          51.    Defendant’s actions were willful, in bad faith, and in knowing violation
  7    of the California Labor Code and applicable Wage Orders.
  8          52.    By unlawfully failing to reimburse Plaintiffs and Class Members for
  9    necessary expenditures or losses, Defendant has caused Plaintiffs and Class
 10    Members to suffer losses in an amount to be determined at trial.
 11          53.    Under California Labor Code §§ 2802 and 218.5, Defendant is also
 12    liable to Plaintiffs and Class Members for reasonable attorney’s fees.
 13                    X.   THIRD CAUSE OF ACTION
 14        UNLAWFUL WITHHOLDING AND RECEIPT OF EARNED WAGES
            (CALIFORNIA LABOR CODE § 221 AND WAGE ORDER NO. 9)
 15            (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
 16          54.    The allegations of each of the preceding paragraphs are re-alleged and
 17    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 18    behalf of themselves and all Class Members.
 19          55.    California Labor Code § 221 makes it unlawful for an employer to
 20    collect or receive from an employee any part of wages paid to the employee.
 21          56.    IWC Wage Order No. 9, § 8 states that no employer shall make any
 22    deduction from the wage or require any reimbursement from an employee for any
 23    cash shortage, breakage, or loss of equipment, unless it can be show that the
 24    shortage, breakage, or loss is caused by dishonest or willful act, or by the gross
 25    negligence of the employee.
 26          57.    IWC Wage Order No. 9, § 9 further states that “(B) When tools or
 27    equipment are required by the employer or are necessary to the performance of a job,
 28    such tools and equipment shall be provided and maintained by the employer, except


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  1    that an employee whose wages are at least two (2) times the minimum wage
  2    provided herein may be required to provide an maintain hand tools and equipment
  3    customarily required by the trade or craft.”
  4             58.   Defendant’s policy and practice of collecting fees and deducting from
  5    Plaintiffs and Class Members’ compensation pallet fees, maintenance of the
  6    handheld computer, and fees for stale products and inventory irregularities, among
  7    any other fees and deductions charged, violates the above referenced sections of the
  8    California Labor Code and applicable wage order.
  9             59.   As a result, Plaintiffs and Class Members are entitled to a return of the
 10    monies paid as well as interest that has accrued, reasonable attorneys’ fees, and
 11    costs.
 12

 13

 14
                       XI. FOURTH CAUSE OF ACTION
                     FAILURE TO PROVIDE MEAL PERIODS
 15      (CALIFORNIA LABOR CODE §§ 226.7, 512, IWC WAGE ORDER NO. 9)
 16
               (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
                60.   The allegations of each of the preceding paragraphs are re-alleged and
 17
       incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 18
       behalf of themselves and all Class Members.
 19
                61.   Plaintiffs and Class Members have regularly worked in excess of five
 20
       hours a day without being afforded at least a half-hour meal period in which they
 21
       were relived of all duties, as required by California Labor Code §§ 226.7 and 512
 22
       and IWC Wage Order No. 9, § 11.
 23
                62.   By failing to consistently provide Plaintiffs and Class Members an
 24
       uninterrupted, thirty-minute meal period within the first five hours of work each day,
 25
       Defendant violated the California Labor Code and applicable IWC Wage Order
 26
       provisions.
 27

 28



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  1             63.   Plaintiffs are informed and believe, and on that basis allege, that
  2    Defendant has never paid the one hour of compensation as a premium payment to
  3    any Class Member pursuant to California Labor Code § 226.7 for not providing
  4    proper meal periods.
  5             64.   As a direct and proximate result of Defendant’s unlawful conduct as set
  6    forth herein, Plaintiffs and Class Members have sustained damages, including loss of
  7    compensation resulting from missed meal periods, in an amount to be determined at
  8    trial.
  9                      XII. FIFTH CAUSE OF ACTION
               FAILURE TO AUTHORIZE AND PERMIT REST BREAKS
 10
           (CALIFORNIA LABOR CODE § 226.7 and IWC WAGE ORDER NO. 9)
 11             (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
 12
                65.   The allegations of each of the preceding paragraphs are re-alleged and
 13
       incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 14
       behalf of themselves and all Class Members.
 15
                66.   California Labor Code § 226.7 states “no employer shall require any
 16
       employee to work during any meal or rest period mandated by an applicable order of
 17
       the Industrial Welfare Commission.”
 18
                67.   IWC Wage Order No. 9, § 12 provides in relevant part that: “(A) Every
 19
       employer shall authorize and permit all employees to take rest periods, which insofar
 20
       as practicable shall be in the middle of each work period. The authorized rest period
 21
       time shall be based on the total hours worked daily at the rate of ten (10) minutes net
 22
       rest time per four (4) hours or major fraction thereof. However, a rest period need not
 23
       be authorized for employees whose total daily work time is less than three and one-
 24
       half (3 ½) hours. Authorized rest period time shall be counted, as hours worked, for
 25
       which there shall be no deduction from wages.
 26
                68.   If an employer fails to provide an employee a rest period in accordance
 27
       with the applicable provisions of this order, the employer shall pay the employee one
 28



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  1    (1) hour of pay at the employee’s regular rate of compensation for each work day
  2    that the rest period is not provided.
  3          69.    Upon information and belief, Defendant did not promulgate a compliant
  4    rest break policy.
  5          70.    Plaintiffs and Class Members have regularly worked in excess of four
  6    hours a day without Defendant authorizing and permitting them to take at least a 10
  7    minute paid rest period or have failed to separately pay them for the rest periods
  8    taken, as required by Labor Code § 226.7 and IWC Wage Order 9.
  9          71.    Plaintiffs and Class Members were not paid for all hours worked, and
 10    Defendant maintained no system for the recording of rest periods.
 11          72.    Because Defendant failed to authorize and permit proper paid rest
 12    periods, they are liable to Plaintiffs and Class Members for one hour of additional
 13    pay at the regular rate of compensation for each workday that the proper rest periods
 14    were not authorized or permitted.
 15

 16                       XIII. SIXTH CAUSE OF ACTION
                 FAILURE TO FURNISH ACCURATE WAGE STATEMENTS
 17
               (CALIFORNIA LABOR CODE § 226 & IWC WAGE ORDER NO. 9)
 18                (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
 19          73.    The allegations of each of the preceding paragraphs are re-alleged and
 20    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 21    behalf of themselves and all Class Members.
 22          74.    Pursuant to California Labor Code § 226(a) and IWC Wage Order No.
 23    9, Defendant has at all relevant times been required, semimonthly or at the time of
 24    each payment of wages, to furnish Plaintiffs and Class Members accurate, itemized
 25    written statements containing all the information described in § 226 and Wage Order
 26    No. 9, § 7, including, but not limited to, the total hours worked by the employees.
 27

 28



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  1          75.    Defendant has knowingly and intentionally failed to comply with § 226
  2    by knowingly and intentionally failing to furnish Plaintiffs and Class Members with
  3    accurate, itemized written statements showing their actual and total hours worked.
  4          76.    Defendant also failed to accurately record meal periods as detailed
  5    above, to pay meal period premium wages for missed meal periods, and to report
  6    those meal period premium payments on wage statements.
  7          77.    Under California Labor Code § 226(e), an employee suffering injury as
  8    a result of knowing and intentional failure of an employer to comply with § 226(a) is
  9    entitled to recover the greater of all actual damages or fifty ($50) for the initial pay
 10    period in which a violation occurs and one hundred dollars ($100) for each violation
 11    in a subsequent pay period, up to a maximum amount of $4,000.
 12          78.    In addition, upon information and belief, and in violation of IWC Wage
 13    Order No. 9, Defendant failed to keep the required payroll records showing the
 14    actual hours worked each day by Plaintiffs and Class Members. As a direct and
 15    proximate result of Defendant’s actions, Plaintiffs and Class Members have suffered
 16    economic harm as they have been precluded from accurately monitoring the number
 17    of hours worked and thus seeking all accrued overtime pay.
 18          79.    As a direct and proximate result of Defendant’s unlawful conduct as set
 19    forth herein, Plaintiffs and Class Members have been injured by not receiving the
 20    information required by California Labor Code § 226(a), not being paid their
 21    overtime hours, not having records showing their total hours worked, not being able
 22    to ascertain from their wage statements whether or how they have been lawfully
 23    compensated for all hours worked, among other things, in an amount to be
 24    determined at trial.
 25          80.    Plaintiffs and Class Members may recover damages and penalties
 26    provided for under California Labor Code § 226(e), plus interest thereon, reasonable
 27    attorneys’ fees, and costs.
 28                           XIV. SEVENTH CAUSE OF ACTION


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  1
                               WAITING TIME PENALTIES
                         (CALIFORNIA LABOR CODE §§ 201, 202, 203)
  2                  (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
  3          81.    The allegations of each of the preceding paragraphs are re-alleged and
  4    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
  5    behalf of themselves and all Class Members.
  6          82.    California Labor Code § 201 states that an employer is required to
  7    provide an employee who is terminated all accrued wages and compensation at the
  8    time of termination.
  9          83.    California Labor Code § 202 states that an employer is required to
 10    provide an employee who resigns all unpaid wages within 72 hours of their
 11    resignation, or upon resignation if the employee has provided at least 72 hours’
 12    notice.
 13          84.    California Labor Code § 203 states that if an employer willfully fails to
 14    pay compensation promptly upon discharge, as required by § 201 and § 202, then the
 15    employer is liable for waiting time penalties equivalent to the employee’s daily
 16    wage, for a maximum of 30 days.
 17          85.    Plaintiffs and numerous Class Members who were employed by
 18    Defendant during the Class Period resigned or were terminated. Upon resignation or
 19    termination, they were not paid all wages due within the statutory time period.
 20    Defendant willfully failed and refused to pay timely compensation and wages for,
 21    among other things, unpaid overtime, unpaid meal periods, and unlawful fees.
 22          86.    As a direct and proximate result of Defendant’s willful conduct in
 23    failing to pay Plaintiffs and former Distributor Class Members for all hours worked,
 24    Plaintiffs and affected members of the Class are entitled to recover “waiting time”
 25    penalties of up to thirty (30) days’ wages pursuant to § 203, with interest thereon,
 26    and reasonable attorneys’ fees and costs.
 27                       XV. EIGHTH CAUSE OF ACTION
 28                VIOLATIONS OF THE UNFAIR COMPETITION LAW (UCL)



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  1
                   (CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 17200-09)
                      (ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS)
  2
             87.     The allegations of each of the preceding paragraphs are re-alleged and
  3
       incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
  4
       behalf of themselves and all Class Members.
  5
             88.     California Business & Professions Code § 17200, et seq. (“UCL”)
  6
       prohibits “unfair competition” in the form of any unlawful, unfair, or fraudulent
  7
       business act or practice.
  8
             89.     Beginning at an exact date unknown to Plaintiffs but within four years
  9
       preceding the filing of this action, Defendant has engaged in unfair competition as
 10
       defined by the UCL by, and as further described above: (1) failing to pay overtime
 11
       compensation to Plaintiffs and similarly situated Class Members in violation of
 12
       California Labor Code §§ 510, 1194 et seq., and IWC Wage Order No. 9, § 3; (2)
 13
       failing to indemnify Plaintiffs and similarly situated Class Members for
 14
       employment-related business expenses and loses in violation of Labor Code § 2802
 15
       & and IWC Wage Order No. 9; (3) failing and refusing to provide meal and rest
 16
       periods to Plaintiffs and similarly situated Class Members in violation of California
 17
       Labor Code §§ 226.7 and 512 and IWC Wage Order No. 9; (4) failing to provide
 18
       complete and accurate itemized wage statements in violation of California Labor
 19
       Code §§ 226 & 1174 and IWC Wage Order No. 9; (5) failing to pay Plaintiffs and
 20
       similarly situated former Distributor Class Members all due and unpaid overtime
 21
       wages upon termination in violation of California Labor Code § 203; (6) willfully
 22
       and unlawfully misclassifying Plaintiffs and similarly situated Class Members as
 23
       independent contractors in violation of California Labor Code § 226.8 & and IWC
 24
       Wage Order No. 9; (7) charging Plaintiffs and Class Members and/or making
 25
       deductions from compensation for goods, materials, services, and equipment
 26
       maintenance arising from their employment in violation of Labor Code § 226.8; and
 27

 28



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  1    (8) unlawfully collecting or receiving wages from Plaintiffs and Class Members in
  2    violation of Labor Code § 221 and IWC Wage Order No. 9.
  3          90.    Defendant’s knowing failure to adopt policies in accordance with and/or
  4    to adhere to these laws, all of which are binding upon and burdensome to its
  5    competitors, engenders an unfair competitive advantage to Defendant thereby
  6    constituting an unfair business practice under California Business & Professions
  7    Code §§ 17200-17208.
  8          91.    Plaintiffs and similarly-situated Class Members have suffered injury in
  9    fact and have lost money as a direct and proximate result of Defendant’s unfair
 10    competition, including, but not limited to, money due to them as overtime
 11    compensation, necessary expenditures or losses, unlawful fees arising from their
 12    employment, compensation for missed meal periods, and waiting time penalties,
 13    which money has been acquired by Defendant by means of their unfair competition
 14    within the meaning of the UCL.
 15          92.    Pursuant to California Business & Professions Code §§ 17200 et seq.,
 16    Plaintiffs and Class Members are entitled to (i) restitution of all wages and
 17    compensation alleged herein that Defendant withheld and retained during the period
 18    commencing four years preceding the filing of this action, (ii) an award of
 19    reasonable attorneys’ fees pursuant to Cal. Civ. Proc. Code § 1021.5 and other
 20    applicable law, and (iii) costs. All remedies are cumulative pursuant to California
 21    Business & Professions Code § 17205.
 22                     XVI. NINTH CAUSE OF ACTION
 23        CIVIL PENALTIES UNDER LABOR CODE PRIVATE ATTORNEY
                               GENERAL ACT
 24                (CALIFORNIA LABOR CODE §2698 ET SEQ.)
 25        (ON BEHALF OF PLAINTIFFS AS A REPRESENTATIVE ACTION)
 26          93.    The allegations of each of the preceding paragraphs are re-alleged and
 27    incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on
 28    behalf of themselves and all aggrieved employees.



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  1           94.   Plaintiffs Barrish and Alfred, as aggrieved employees, bring this claim
  2    under California Labor Code §§ 2698-2699 in a representative capacity on behalf of
  3    current and former Distributors of Defendant subjected to the unlawful wage and
  4    hour practices alleged herein.
  5           95.   The California Labor Code Private Attorneys General Act of 2004
  6    (PAGA), California Labor Code § 2698 et seq., grants California employees the right
  7    to bring a civil action for the violation of any provision of the Labor Code on behalf
  8    of themselves and other current or former employees in order to recover civil
  9    penalties. PAGA is intended to assist in the achievement of maximum compliance
 10    with state labor laws by empowering aggrieved employees to act as private attorneys
 11    general in order to recover civil penalties for Labor Code violations that would
 12    otherwise be prosecuted by the state. See Arias v. Super. Ct. (2009) 46 Cal. 4th 969,
 13    980.
 14           96.   PAGA permits an aggrieved employee to collect the civil penalty
 15    authorized by law and normally collectible by the California Labor and Workforce
 16    Development Agency. To address violations for which no penalty has been
 17    established, § 2699(f) creates a private right of action for aggrieved employees and a
 18    default penalty in the amount of $100 for each aggrieved employee per pay period
 19    for the initial violation, and $200 for each aggrieved employee per pay period for
 20    each subsequent violation. See Cal. Lab. Code § 2699(f).
 21           97.   Plaintiffs Barrish and Alfred hereby seek to collect these civil penalties
 22    for the above-described Labor Code violations, including:
 23           98.   Under California Labor Code § 558, civil penalties of fifty dollars ($50)
 24    for each Plaintiff and each aggrieved employee per pay period for the initial violation
 25    of Labor Code § 558 where Plaintiffs and aggrieved employees were not paid
 26    appropriate overtime premiums under Labor Code § 510, as alleged in the First
 27    Cause of Action, in addition to an amount sufficient to recover underpaid wages; and
 28    for each subsequent violation, one hundred dollars ($100) for each underpaid


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  1    aggrieved employee for each pay period for which the employee was underpaid
  2    under Labor Code § 510.
  3           99.   Under California Labor Code § 2699(f)(2), described above, a civil
  4    penalty of one hundred dollars ($100) for each Plaintiff and each aggrieved
  5    employee per pay period for the initial violation of Labor Code § 2802, for failure to
  6    indemnify employees for business expenses, and two hundred dollars ($200) for each
  7    Plaintiff and each aggrieved employee per pay period for each subsequent violation
  8    of Labor Code § 2802, as alleged in Plaintiffs’ Second Cause of Action.
  9           100. Under California Labor Code § 2699(f)(2), a civil penalty of one
 10    hundred dollars ($100) for each Plaintiff and each aggrieved employee per pay
 11    period for the initial violation of Labor Code § 226.7 for failing to provide meal
 12    periods, and two hundred dollars ($200) for each Plaintiff and each aggrieved
 13    employee per pay period for each subsequent violation of Labor Code § 226.7 for
 14    failing to provide meal periods, as alleged in Plaintiffs’ Fourth Cause of Action.
 15           101. Under California Labor Code § 226.3, which provides for civil penalties
 16    for violations of California Labor Code § 226(a), a civil penalty of two hundred fifty
 17    dollars ($250) for each Plaintiff and each aggrieved employee for the first violation,
 18    and one thousand dollars ($1,000) for each Plaintiff and each aggrieved employee for
 19    each subsequent violation of Labor Code § 226(a) for failure to provide timely,
 20    accurate, itemized wage statements, as alleged in the Sixth Cause of Action.
 21           102. Under California Labor Code § 2699(f)(2), a civil penalty of one
 22    hundred dollars ($100) for each Plaintiff and each aggrieved employee per pay
 23    period for the initial violation of Labor Code §§ 201, 202, and 203 for Defendant’s
 24    failure to pay earned wages upon discharge, as alleged in the Seventh Cause of
 25    Action, and two hundred dollars ($200) for each Plaintiff and each aggrieved
 26    employee per pay period for each subsequent violation of Labor Code §§ 201 and
 27    202.
 28



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  1          103. Under California Labor Code § 226.8, a civil penalty of not less than
  2    five thousand dollars ($5,000) and not more than fifteen thousand dollars ($15,000)
  3    for each violation against each Plaintiff and each aggrieved employee, and if the
  4    court finds that Defendant has engaged in a pattern or practice of violation of §
  5    226.8(a), a civil penalty of not less than ten thousand dollars ($10,000) and not more
  6    than twenty-five thousand dollars ($25,000) for each violation.
  7          104. Additionally, as a result of violations under California Labor Code §
  8    226.8(a), Plaintiffs request that the Court order Defendant to take certain steps to
  9    notify employees and the general public of the determination that they have violated
 10    § 226.8, pursuant to § 226.8(e).
 11          105. California Labor Code § 2699(g) further provides that any employee
 12    who prevails in an action for civil penalties is entitled to an award of reasonable
 13    attorneys’ fees and costs. Plaintiffs Barrish and Alfred hereby seek to recover their
 14    attorneys’ fees and costs under this fee and cost shifting statute.
 15          106. On June 5, 2014, pursuant to California Labor Code § 2699.3, Plaintiffs
 16    sent notice by certified mail to the Labor and Workforce Development Agency
 17    (LWDA) and Defendant of the specific provisions of the Labor Code that have been
 18    violated, including the facts and theories to support the violations. The LWDA
 19    received this notice on the same day, June 5, 2014. The thirty-three day time limit
 20    for the agency to respond has expired, such that Plaintiffs have exhausted their
 21    administrative remedies.
 22                                XVII. PRAYER FOR RELIEF
 23          107. WHEREFORE, Plaintiffs, on behalf of themselves and the above-
 24    described Class of similarly situated Distributor Class Members, requests relief as
 25    follows:
 26               a. Certification of the above-described Class as a class action, pursuant to
 27          California Code of Civil Procedure § 382;
 28               b. Appointment of Plaintiffs as Class and Subclass Representatives;


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  1            c. Appointment of Plaintiffs’ Counsel as Class and Subclass Counsel;
  2            d. Provision of class notice to all Class Members;
  3            e. A declaratory judgment that Defendant has knowingly and intentionally
  4         violated the following provisions of law, among others:
  5               i.   California Labor Code §§ 510, 1194 et seq., 1197, and IWC Wage
  6                    Order No. 9, by failure to pay overtime compensation to Plaintiffs
  7                    and Class Members;
  8              ii.   California Labor Code § 2802 & IWC Wage Order No. 9, by failure
  9                    to reimburse Plaintiffs and Class Members for necessary
 10                    expenditures or losses;
 11             iii.   California Labor Code § 221 & IWC Wage Order No. 9 by
 12                    unlawfully collecting and deducting wages from Plaintiffs and Class
 13                    Members;
 14             iv.    California Labor Code §§ 226.7 and 512, and IWC Wage Order No.
 15                    9 for failure to provide off-duty meal and rest periods to Plaintiffs
 16                    and Class Members;
 17              v.    California Labor Code §§ 201-203, by willful failure to pay all
 18                    wages owed at the time of termination of employment;
 19             vi.    California Labor Code § 226(a) and 1174, by failure to provide
 20                    itemized written statements semimonthly or at the time of payment
 21                    of wages accurately showing all the information required by
 22                    California law, including but not limited to total hours worked, and
 23                    for failure to keep accurate payroll records;
 24            vii.    California Business and Professions Code §§ 17200 et seq., by
 25                    failure to pay unpaid overtime compensation due to Plaintiffs and
 26                    Class Members under California law, by willfully failing to pay all
 27                    compensation owed to Plaintiffs and Class Members upon
 28                    termination of employment; by willfully failing to provide legally


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  1                    compliant wage statements to Plaintiffs and Class Members; by
  2                    requiring Plaintiffs and Class Members to work through their meal
  3                    and rest periods without paying them proper compensation; by
  4                    failing to reimburse Plaintiffs and Class Members for necessary
  5                    expenditures or losses; by willfully and knowingly misclassifying
  6                    Plaintiffs and Class Members as independent contractors for
  7                    Defendant’s financial gain under Labor Code Section 226.8; and by
  8                    charging an Plaintiffs and Class Members fees and/or making
  9                    deductions from compensation in violation of Labor Code Section
 10                    226.8.
 11            viii.   A declaratory judgment that Defendant has knowingly and
 12                    intentionally violated California Labor Code §§ 201, 202, 203, 226,
 13                    226.7, 510, 512, 2802, and 226.8, all of which give rise to civil
 14                    penalties and other remedies under the PAGA.
 15            f. A declaratory judgment that Defendant’s violations as described above
 16         were willful and/or knowing and intentional;
 17            g. An equitable accounting to identify, locate, and restore to all current and
 18         former Class Members the overtime wages due;
 19            h. An award to Plaintiffs and the Class Members of damages in the amount
 20         of unpaid overtime compensation, necessary business expenses, unlawful
 21         collection and deductions from wages, and meal and rest period compensation,
 22         including interest thereon subject to proof at trial;
 23             i. An award of penalties owed, pursuant to Labor Code § 203, to Plaintiffs
 24         and all Class Members who resigned or whose employment was terminated by
 25         Defendant without receiving all overtime compensation owed at the time of
 26         separation;
 27            j. An order requiring Defendant to pay restitution of all amounts owed to
 28         Plaintiffs and similarly situated Class Members for Defendant’s failure to pay


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  1          legally required overtime pay, meal period pay, out-of-pocket employment-
  2          related necessary expenditures or losses, unlawful fees, and interest thereon, in
  3          an amount according to proof, pursuant to California Business & Professions
  4          Code § 17203 and other applicable law;
  5             k. An award to Plaintiffs and the Class Members of damages and/or
  6          statutory penalties as set forth in California Labor Code § 226(e);
  7             l. An award to Plaintiffs and the Class Members of premium wages for
  8          meal and rest periods, according to proof;
  9             m. An award to Plaintiffs of PAGA civil penalties under Labor Code §
 10          2699, et seq., subject to proof;
 11             n. An award to Plaintiffs and the Class Members of reasonable attorneys’
 12          fees and costs, pursuant to California Code of Civil Procedure § 1021.5,
 13          California Labor Code §§ 226(e), 1194, 2802, 2699(g) and/or other applicable
 14          law;
 15             o. An award to Plaintiffs and the Class Members of such other and further
 16          relief as this Court deems just and proper.
 17

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 19
                           XVIII.       DEMAND FOR JURY TRIAL
 20

 21          108. Plaintiffs, on behalf of themselves and all others similarly situated,
 22    hereby demand a trial of their claims by jury to the extent authorized by law.
 23

 24
       DATED: June 23, 2017                         SHAPIRO HABER & URMY, LLP

 25

 26
                                                    By: /s/ Ian McLoughlin
                                                    IAN MCLOUGHLIN
 27                                                 Attorney for Plaintiff Alves and the
 28                                                 Current Distributor Subclass



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